




 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;No. 2--96--0485



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 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;IN THE



 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;APPELLATE COURT OF ILLINOIS



 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;SECOND DISTRICT

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THE PEOPLE OF THE STATE OF &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;) &nbsp;Appeal from the Circuit Court

ILLINOIS, &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;) &nbsp;of Du Page County.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;)

 &nbsp;&nbsp;&nbsp;&nbsp;Plaintiff-Appellee, &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;) &nbsp;No. 96--TR--25520

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;)

v. &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;)

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;)

ALFRED BUBOLZ, &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;) &nbsp;Honorable

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;) &nbsp;C. Andrew Hayton,

 &nbsp;&nbsp;&nbsp;&nbsp;Defendant-Appellant. &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;) &nbsp;Judge, Presiding.

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 &nbsp;&nbsp;&nbsp;&nbsp;JUSTICE DOYLE delivered the opinion of the court: &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;

 &nbsp;&nbsp;&nbsp;&nbsp;Defendant, Alfred Bubolz, was convicted of operating a tow

truck without a valid safety sticker (625 ILCS 5/13--111 (West

1994)). &nbsp;Defendant stipulated to the facts and was found guilty of

the offense and fined $75. &nbsp;The issue for review is whether the

trial court erred in denying his motion for a directed finding by

ruling that tow trucks are not exempt from the provisions of

section 13--101 of the Illinois Vehicle Code (Code) (625 ILCS 5/13-

-101 (West 1994)). &nbsp;We affirm.

 &nbsp;&nbsp;&nbsp;&nbsp;Defendant contends that under section 13--101 of the Code tow

trucks are exempt from the testing and certificate requirements. 

As our resolution of this issue depends on the interpretation of a

statute, we turn to the rules of statutory interpretation. &nbsp;The

primary rule, to which all others are subordinate, is that the

court should ascertain and give effect to the legislative intent. 

People v. Britz, 174 Ill. 2d 163, 196 (1996). &nbsp;To determine that

intent, the court looks first to the language of the statute, which

is given its plain and ordinary meaning. &nbsp;People v. Haynes, 174

Ill. 2d 204, 222 (1996). &nbsp;The court must also consider every part

of the statute together (People v. Warren, 173 Ill. 2d 348, 357

(1996)) and give every word or phrase some reasonable meaning

(Opyt's Amoco, Inc. v. Village of South Holland, 149 Ill. 2d 265,

277 (1992)). &nbsp;Moreover, we must assume that the legislature did not

intend an absurd result. &nbsp;People v. Coleman, 166 Ill. 2d 247, 253

(1995).

 &nbsp;&nbsp;&nbsp;&nbsp;The statute provides in relevant part:

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;"To promote the safety of the general public, every owner

 &nbsp;&nbsp;&nbsp;&nbsp;of a second division vehicle, medical transport vehicle, or

 &nbsp;&nbsp;&nbsp;&nbsp;tow truck shall, before operating it upon the highways of

 &nbsp;&nbsp;&nbsp;&nbsp;Illinois, submit it to a 'safety test' and secure a

 &nbsp;&nbsp;&nbsp;&nbsp;certificate of safety furnished by the Department as set forth

 &nbsp;&nbsp;&nbsp;&nbsp;in Section 13--109. &nbsp;***

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;However, none of the provisions of Chapter 13 requiring

 &nbsp;&nbsp;&nbsp;&nbsp;safety tests or a certificate of safety shall apply to:

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;* * * 

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;(n) &nbsp;Second division vehicles registered for a gross

 &nbsp;&nbsp;&nbsp;&nbsp;weight of 8,000 pounds or less, except when such second

 &nbsp;&nbsp;&nbsp;&nbsp;division motor vehicles pull or draw a trailer, semi-trailer

 &nbsp;&nbsp;&nbsp;&nbsp;or pole trailer having a gross weight of or registered for a

 &nbsp;&nbsp;&nbsp;&nbsp;gross weight of more than 8,000 pounds; motor buses; religious

 &nbsp;&nbsp;&nbsp;&nbsp;organization buses; school buses; senior citizen

 &nbsp;&nbsp;&nbsp;&nbsp;transportation vehicles; medical transport vehicles and tow

 &nbsp;&nbsp;&nbsp;&nbsp;trucks." &nbsp;(Emphasis added.) &nbsp;625 ILCS 5/13--101 (West 1994).

Defendant asserts that because each of the items in subsection (n)

is separated by a semicolon which follows a colon, each item

relates back to the original colon. &nbsp;Defendant therefore reasons

that none of the provisions of chapter 13 apply to tow trucks.

 &nbsp;&nbsp;&nbsp;&nbsp;The State responds that this reading of the statute is

incorrect because it yields an absurd result. &nbsp;As the State points

out, a recent amendment to the statute provides:

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;"For tow trucks, the safety test and inspection shall

 &nbsp;&nbsp;&nbsp;&nbsp;also include the inspection of winch mountings, body panels,

 &nbsp;&nbsp;&nbsp;&nbsp;body mounts, wheel lift swivel points, and sling straps, and

 &nbsp;&nbsp;&nbsp;&nbsp;other tests and inspections the Department by rule requires

 &nbsp;&nbsp;&nbsp;&nbsp;for tow trucks." &nbsp;625 ILCS Ann. 5/13--101 (Smith-Hurd Supp.

 &nbsp;&nbsp;&nbsp;&nbsp;1996).

Clearly, this paragraph makes no sense if tow trucks are exempt

from safety inspections. &nbsp;Similarly, the language of the first

paragraph of this section, "[t]o promote the safety of the general

public, every owner of a *** tow truck shall *** submit it to a

'safety test' " (625 ILCS 5/13--101 (West 1994)), would become a

nullity if we adopted defendant's interpretation.

 &nbsp;&nbsp;&nbsp;&nbsp;Instead, we believe that the legislature's obvious intent, as

expressed in subsection (n) was to exempt second division vehicles

registered for a gross weight of 8,000 pounds or less except tow

trucks and the other second division vehicles specifically listed

in subsection (n) as exceptions to that exemption.

 &nbsp;&nbsp;&nbsp;&nbsp;This interpretation comports with the purpose of the act and

is in harmony with other provisions, such as section 13--101.1 of

the Code, which pertains to senior citizen transportation vehicles. 

See 625 ILCS 5/13--101.1 (West 1994). &nbsp;Although subsection (n) is

poorly worded, it is not ambiguous. &nbsp;Defendant's interpretation of

the statute would yield an absurd result. &nbsp;See People v. Ross, 168

Ill. 2d 347, 352 (1995). &nbsp;Accordingly, we conclude that all tow

trucks, regardless of gross weight, are subject to the provisions

of chapter 13 requiring safety tests and certificates of safety. 

Thus, the trial court did not err in denying defendant's motion for

a directed finding.

 &nbsp;&nbsp;&nbsp;&nbsp;The judgment of the circuit court of Du Page County is

affirmed.

 &nbsp;&nbsp;&nbsp;&nbsp;Affirmed.

 &nbsp;&nbsp;&nbsp;&nbsp;COLWELL and THOMAS, JJ., concur.






